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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CRESCENCIO DELGADO-ESQUIVEL
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-11-00075-MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )     Date: February 9, 2012
15                                   )     Time: 9:00 a.m.
                    Defendants.      )     Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
17
18        IT IS HEREBY STIPULATED between the parties, plaintiff United
19   States of America by its attorney SAMUEL WONG, Assistant United States
20   Attorney; DOUGLAS BEEVERS, Assistant Federal Defender, attorney for
21   defendant CRESCENCIO DELGADO-ESQUIVEL; GILBERT ROQUE, attorney for
22   defendant SALVADOR JAMAICA-ARELLANO; and CLEMENTE JIMENEZ, attorney for
23   defendant LAZARO ANDRADE-BAUTISTA, that the status conference of
24   December 15, 2011 at 9:00 a.m., be vacated, and the matter be set for
25   status conference on February 9, 2012, at 9:00 a.m.
26        This continuance is requested to allow counsel additional time to
27   review discovery with the defendants, to examine possible defenses and
28   to continue investigating the facts of the case.
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1    Plea agreements for some defendants are expected to be tendered shortly
2    after ongoing negotiations are completed.        These tasks are made more
3    difficult and time-consuming because many of the defendants are Spanish
4    language speakers and communications with their counsel need to be
5    conducted with the assistance of a Spanish-English language
6    interpreter.   Defense counsel need additional time to explain the
7    ramifications of any proposed plea agreements to their respective
8    clients and to prepare their respective client's defense in the event
9    that there is no pretrial resolution of this case.
10         All parties stipulate and agree that the Court shall find this
11   case complex and unusual within the meaning of 18 U.S.C. Section
12   3161(h)(A) and (B) (ii) and Local Code T-2 because defendant
13   Delgado-Esquivel is named as a defendant in two separate
14   methamphetamine conspiracy and trafficking Indictments with multiple
15   Spanish speaking only co-defendants, multiple counts, and numerous
16   Spanish language audio recordings that must be translated to English,
17   all of which make it unreasonable to expect adequate preparation for
18   pretrial proceedings and trial itself within the time limits
19   established in 18 U.S.C. Section 3161.        The parties stipulate and agree
20   that the Court shall find that the failure to grant the requested
21   continuance in this case would deny counsel for defendants reasonable
22   time necessary for effective preparation, taking into account the
23   exercise of due diligence.
24   ///
25   ///
26   ///
27   ///
28   ///


     Stip and Order                         -2-
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1          The parties agree and stipulate that the Court shall find:       (1)
2    the time within which the trial of this case must be commenced under
3    the Speedy Trial Act should therefore be excluded under 18 U.S.C.
4    section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local
5    Codes T2 (complex and unusual case) and T4 (to allow defense counsel
6    time to prepare), from the date of the parties' stipulation, December
7    12, 2011, to and including February 9, 2012; and (2) the ends of
8    justice served by the granting of such a continuance outweigh the best
9    interests of the public and the defendants in a speedy trial
10         Accordingly, the parties respectfully request the Court adopt this
11   proposed stipulation in its entirety as its order.
12         IT IS SO STIPULATED.
13
14   Dated: December 12, 2011                Respectfully submitted,
15                                           DANIEL BRODERICK
                                             Federal Defender
16
                                             /s/ Doug Beevers
17                                           DOUG BEEVERS
                                             Assistant Federal Defender
18                                           Attorney for Defendant
                                             CRESCENCIO DELGADO-ESQUIVEL
19
20   Dated: December 12, 2011                /s/ Gilbert Roque
                                             GILBERT ROQUE
21                                           Attorney for Defendant
                                             SALVADOR JAMAICA-ARELLANO
22
23   Dated: December 12, 2011                /s/ Clemente Jimenez
                                             CLEMENTE JIMENEZ
24                                           Attorney for Defendant
                                             LAZARO ANDRADE-BAUTISTA
25   ///
26   ///
27   ///
28   ///


     Stip and Order                         -3-
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1    Dated: December 12, 2011               BENJAMIN B. WAGNER
                                            United States Attorney
2
                                            /s/ Samuel Wong
3                                           SAMUEL WONG
                                            Assistant U.S. Attorney
4                                           Attorney for Plaintiff
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     Stip and Order                        -4-
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1                                         ORDER
2         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for December 15, 2011,
4    be continued to February 9, 2012, at 9:00 a.m. Based on the
5    representation of defense counsel and good cause appearing therefrom,
6    the Court hereby finds that it is unreasonable to expect adequate
7    preparation for pretrial proceedings and trial itself within the time
8    limits established in 18 U.S.C. § 3161, and the requested continuance
9    is necessary to provide defense counsel reasonable time necessary for
10   effective preparation, taking into account the exercise of due
11   diligence.   The Court finds the ends of justice to be served by
12   granting the requested continuance outweigh the best interests of the
13   public and the defendants in a speedy trial.
14        It is ordered that time from the date of the parties’ stipulation,
15   December 12, 2011, up to and including, the February 9, 2012, status
16   conference shall be excluded from computation of time within which the
17   trial of this matter must be commenced under the Speedy Trial Act
18   pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(ii) and (iv) and Local
19   Codes T2 (complex and unusual case) and T4 (allow defense counsel
20   reasonable time to prepare).
21        IT IS SO ORDERED.
22
     Dated: December 14, 2011
23
24                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
25
                                          UNITED STATES DISTRICT JUDGE
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27
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     Stip and Order                        -5-
